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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                           )
STATE OF TEXAS,                            )
STATE OF MISSOURI,                         )
                                           )
       Plaintiffs,                         )
                                           )
       v.                                  )       Civil Action No. 2:21-cv-00067-Z
                                           )
 JOSEPH R. BIDEN, JR.,                     )
 in his official capacity as               )
 President of the United States, et al.,   )
                                           )
       Defendants.                         )
                                           )


                                      NOTICE OF APPEAL

       Pursuant to 28 U.S.C. § 1292(a)(1) and Federal Rule of Appellate Procedure 3, notice is

hereby given that Defendants appeal to the United States Court of Appeals for the Fifth Circuit

from the Court’s Opinion and Order of December 15, 2022, ECF No. 178, granting Plaintiffs’

Motion to Postpone the Effective Date of Agency Action.




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    Dated: February 13, 2023           Respectfully submitted,

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                                       JOSEPH A. DARROW
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                                       /s/ Brian C. Ward
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                                       Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2023, I electronically filed this notice of appeal with

the Clerk of the Court for the United States District Court for the Northern District of Texas by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                             /s/ Brian C. Ward
                                             BRIAN C. WARD
                                             U.S. Department of Justice




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